Case 16-70245-hdh7 Doc 287 Filed 02/19/21            Entered 02/19/21 15:46:31       Page 1 of 25


                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS
                                      WICHITA FALLS DIVISION

  In re:                                         §    Case No. 16-70245-HDH7
                                                 §
  TOTAL OPERATING, LLC                           §
                                                 §
                                                 §
                      Debtor(s)                  §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Shawn K. Brown, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



 Assets Abandoned:             $1,131,583.55         Assets Exempt:        NA
 (without deducting any secured claims)



 Total Distributions to                              Claims Discharged
 Claimants:                       $208,476.08        Without Payment:      NA

 Total Expenses of
 Administration:                  $308,492.27


        3)      Total gross receipts of $516,968.35 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $516,968.35 from the
liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
Case 16-70245-hdh7 Doc 287 Filed 02/19/21               Entered 02/19/21 15:46:31          Page 2 of 25




                                   CLAIMS           CLAIMS             CLAIMS               CLAIMS
                                 SCHEDULED         ASSERTED           ALLOWED                PAID
  Secured Claims
  (from Exhibit 3)               $2,665,634.72     $3,420,716.20          $76,735.91         $76,735.91
  Priority Claims:
      Chapter 7
      Admin. Fees and                     NA        $420,292.18         $308,492.27         $308,492.27
      Charges
       (from Exhibit 4)
      Prior Chapter
      Admin. Fees and                     NA               $0.00               $0.00               $0.00
      Charges (from
      Exhibit 5)
      Priority
      Unsecured                    $66,106.88       $269,160.12           $64,162.33         $64,162.33
      Claims
      (From Exhibit 6)
  General Unsecured
  Claims (from                   $4,132,888.54     $3,555,272.91       $3,066,044.06         $67,577.84
  Exhibit 7)
           Total
     Disbursements               $6,864,630.14     $7,665,441.41       $3,515,434.57        $516,968.35

        4). This case was originally filed under chapter 7 on 07/30/2016. The case was pending
  for 55 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 02/03/2021                              By: /s/ Shawn K. Brown
                                                        /Sh Trustee
                                                        awn
                                                        K.
                                                        Bro
                                                        wn

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



UST Form 101-7-TDR (10/1/2010)
Case 16-70245-hdh7 Doc 287 Filed 02/19/21                    Entered 02/19/21 15:46:31              Page 3 of 25


                                                    EXHIBITS TO
                                                   FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                      UNIFORM                         AMOUNT
                                                                        TRAN. CODE                      RECEIVED
Accounts receivables                                                      1121-000                            $50.00
IPFS Corp-Insurance Finance Company                                       1121-000                         $2,444.48
Bank Funds-FSB Chico                                                      1129-000                        $41,880.96
Office equipment                                                          1129-000                           $271.01
Office furniture                                                          1129-000                           $833.03
Vehicles and equipment                                                    1129-000                       $452,043.62
Capital One Credit Card credit balance #4699                              1221-000                            $42.83
SemGroup shares-15                                                        1223-000                           $372.66
Insurance refund-Travelers                                                1229-000                        $16,740.00
Post petition rent for 3 F-250 Trucks                                     1229-000                         $2,079.00
ADT Security Refund                                                       1290-000                           $195.98
Caterpillar credit refund                                                 1290-000                            $14.78
TOTAL GROSS RECEIPTS                                                                                     $516,968.35

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS

  CLAIM            CLAIMANT         UNIFORM              CLAIMS              CLAIMS   CLAIMS               CLAIMS
 NUMBER                            TRAN. CODE         SCHEDULED            ASSERTED ALLOWED                  PAID
     3        Bowe ISD                  4700-000                $0.00         $3,457.00         $0.00             $0.00
     4        Bowie ISD                 4700-000                $0.00         $7,692.73         $0.00             $0.00
     14       Bowie ISD                 4800-000                $0.00         $4,657.12     $4,657.12      $4,657.12
     15       Montague County           4800-000           $5,625.18          $6,902.15         $0.00             $0.00
    15A       Montague County           4800-000                $0.00           $401.17       $401.17        $401.17
     30       CNH Industrial            4210-000                $0.00       $161,448.91         $0.00             $0.00
              Capital America
              LLC
    30a       CNH Industrial            4210-000                $0.00        $14,950.20         $0.00             $0.00
              Capital America
              LLC
     31       CNH Industrial            4210-000                $0.00        $84,051.06         $0.00             $0.00
              Capital America
              LLC
    31a       CNH Industrial            4210-000                $0.00        $84,051.06         $0.00             $0.00
              Capital America
              LLC
     32       CNH Industrial            4210-000                $0.00       $141,388.58         $0.00             $0.00

UST Form 101-7-TDR (10/1/2010)
Case 16-70245-hdh7 Doc 287 Filed 02/19/21       Entered 02/19/21 15:46:31       Page 4 of 25


              Capital America
              LLC
    32a       CNH Industrial     4210-000         $0.00    $13,974.96        $0.00        $0.00
              Capital America
              LLC
     33       CNH Industrial     4210-000         $0.00   $112,786.67        $0.00        $0.00
              Capital America
              LLC
    33a       CNH Industrial     4210-000         $0.00     $9,551.84        $0.00        $0.00
              Capital America
              LLC
     34       CNH Industrial     4210-000         $0.00   $144,478.15        $0.00        $0.00
              Capital America
              LLC
    34a       CNH Industrial     4210-000         $0.00    $13,989.28        $0.00        $0.00
              Capital America
              LLC
     35       CNH Industrial     4210-000    $84,334.87    $53,588.64        $0.00        $0.00
              Capital America
              LLC
    35a       CNH Industrial     4210-000         $0.00     $6,408.64        $0.00        $0.00
              Capital America
              LLC
     36       CNH Industrial     4210-000    $84,334.87    $85,111.08        $0.00        $0.00
              Capital America
              LLC
    36a       CNH Industrial     4210-000         $0.00     $6,108.21        $0.00        $0.00
              Capital America
              LLC
     37       CNH Industrial     4210-000    $84,334.87   $148,661.28        $0.00        $0.00
              Capital America
              LLC
    37a       CNH Industrial     4210-000         $0.00    $13,975.16        $0.00        $0.00
              Capital America
              LLC
     38       CNH Industrial     4210-000    $84,334.87   $181,557.34        $0.00        $0.00
              Capital America
              LLC
    38a       CNH Industrial     4210-000         $0.00    $18,346.76        $0.00        $0.00
              Capital America
              LLC
     39       Russell F.         4210-000         $0.00   $200,000.00        $0.00        $0.00
              Watters Lifetime
              Trust
     41       Reticulum          4210-000         $0.00   $665,688.81        $0.00        $0.00
              Management,
              LLC
    41A       Reticulum          4210-000   $553,991.80   $662,112.17    $6,424.56    $6,424.56
              Management,
              LLC
     44       IPFS Corporation   4210-000    $50,140.22    $65,347.22        $0.00        $0.00
     50       Capital One,       4210-000   $212,816.04   $391,774.18   $65,253.06   $65,253.06
UST Form 101-7-TDR (10/1/2010)
Case 16-70245-hdh7 Doc 287 Filed 02/19/21              Entered 02/19/21 15:46:31               Page 5 of 25


              National
              Association
     54       TBK Bank, SSB         4210-000            $0.00        $118,255.83          $0.00         $0.00
              d/b/a Triumph
              Commercial
              Finance
              Capital One,          4110-000      $90,249.90                 $0.00        $0.00         $0.00
              National
              Association
              Gail Holmes           4110-000     $280,082.22                 $0.00        $0.00         $0.00
              Allen
              Jane Brooks           4110-000     $560,184.39                 $0.00        $0.00         $0.00
              Nylund Family         4110-000     $345,123.30                 $0.00        $0.00         $0.00
              Partners, LTD
              Russell F.            4110-000     $230,082.19                 $0.00        $0.00         $0.00
              Watters
TOTAL SECURED CLAIMS                            $2,665,634.72       $3,420,716.20    $76,735.91    $76,735.91


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE                 UNIFORM          CLAIMS         CLAIMS              CLAIMS             CLAIMS
                            TRAN. CODE     SCHEDULED       ASSERTED            ALLOWED                PAID
Shawn K. Brown,              2100-000             NA            $20,680.00      $20,680.00         $20,680.00
Trustee
Shawn K. Brown,              2200-000             NA              $329.77            $329.77         $329.77
Trustee
George Adams and Co          2300-000             NA             $2,616.00       $2,616.00          $2,616.00
Ins. Agency LLC
Operating Capital            2410-000             NA             $8,000.00       $8,000.00          $8,000.00
LLC
Independent Bank             2600-000             NA              $600.79            $600.79         $600.79
Integrity Bank               2600-000             NA            $13,250.38      $13,250.38         $13,250.38
Clerk, US Bankruptcy         2700-000             NA               $11.50             $11.50          $11.50
Court
Rochelle McCullough          3210-000             NA       $252,274.50         $163,974.59        $163,974.59
LLP, Attorney for
Trustee
Rochelle McCullough          3220-000             NA            $14,379.41      $14,379.41         $14,379.41
LLP, Attorney for
Trustee
Litzler Segner Shaw          3410-000             NA            $82,945.00      $59,445.00         $59,445.00
& McKenney LLP,
Accountant for
Trustee
Litzler Segner Shaw          3420-000             NA              $355.17            $355.17         $355.17
& McKenney LLP,
Accountant for
Trustee
Rosen Systems, Inc.          3620-000             NA            $24,849.66      $24,849.66         $24,849.66
, Auctioneer for

UST Form 101-7-TDR (10/1/2010)
Case 16-70245-hdh7 Doc 287 Filed 02/19/21           Entered 02/19/21 15:46:31          Page 6 of 25


Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                NA       $420,292.18      $308,492.27        $308,492.27
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

  CLAIM         CLAIMANT          UNIFORM        CLAIMS         CLAIMS          CLAIMS        CLAIMS
 NUMBER                          TRAN. CODE   SCHEDULED       ASSERTED        ALLOWED           PAID
     6        Laura Hayek-        5300-000            $0.00     $2,153.60       $2,153.60     $1,558.13
              Anderson
     8        Gary Cox            5300-000            $0.00     $3,900.00       $3,900.00     $2,821.65
     9        Marty Henson        5300-000            $0.00     $2,700.00       $2,700.00     $1,953.45
     11       James Vicari        5300-000            $0.00     $4,420.00       $4,420.00     $3,197.87
     16       TEXAS               5800-000            $0.00     $6,351.02           $0.00         $0.00
              WORKFORCE
              COMMISSION
    16A       Texas Workforce     5800-000            $0.00      $502.48         $502.48       $502.48
              Commission
     61       Comptroller of      5800-000            $0.00    $10,465.84      $10,465.84    $10,465.84
              Public Accounts
     63       Internal Revenue    5800-000            $0.00   $186,638.30           $0.00         $0.00
              Service
    63a       Internal Revenue    5800-000      $50,417.22     $50,811.64      $38,803.17    $38,803.17
              Service
              INTERNAL            5300-000            $0.00           $0.00         $0.00     $2,634.72
              REVENUE
              SERVICE
              Federal
              Withholding
              (Employee)
              INTERNAL            5300-000            $0.00           $0.00         $0.00      $191.02
              REVENUE
              SERVICE
              Medicare
              (Employee)
              INTERNAL            5300-000            $0.00           $0.00         $0.00      $816.76
              REVENUE
              SERVICE Social
              Security
              (Employee)
              INTERNAL            5800-000            $0.00       $79.04          $79.04        $79.04
              REVENUE
              SERVICE
              Federal
              Unemployment
              (Employer)
              INTERNAL            5800-000            $0.00      $191.02         $191.02       $191.02
              REVENUE

UST Form 101-7-TDR (10/1/2010)
Case 16-70245-hdh7 Doc 287 Filed 02/19/21            Entered 02/19/21 15:46:31           Page 7 of 25


              SERVICE
              Medicare
              (Employer)
              INTERNAL              5800-000            $0.00        $816.76        $816.76      $816.76
              REVENUE
              SERVICE Social
              Security
              (Employer)
              Montague CAK          5800-000       $15,689.66           $0.00          $0.00        $0.00
              Jim
              Haralson/Collecto
              r
              TEXAS                 5800-000            $0.00        $130.42        $130.42      $130.42
              WORKFORCE
              COMMISSION
              State
              Unemployment
              (Employer)
TOTAL PRIORITY UNSECURED CLAIMS                    $66,106.88     $269,160.12     $64,162.33   $64,162.33


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

  CLAIM         CLAIMANT            UNIFORM        CLAIMS         CLAIMS          CLAIMS        CLAIMS
 NUMBER                            TRAN. CODE   SCHEDULED       ASSERTED        ALLOWED           PAID
     1        Holt Texas Ltd.       7100-000     $364,467.05    $368,226.09     $368,226.09     $8,148.73
              dba Holt CAT
     2        Link Field            7100-000           $0.00      $5,375.50       $5,375.50      $118.95
              Services, Inc.
     5        Airgas USA, LLC       7100-000       $2,046.00      $3,998.20       $3,998.20       $88.48
     7        DISA Global           7100-000        $630.50        $480.50         $480.50        $10.63
              Solutions, Inc.
     10       Airgas USA, LLC       7100-000           $0.00     $21,402.68      $21,402.68      $473.64
     12       Comdata Inc.          7100-000       $4,392.14     $11,318.41      $11,318.41      $250.47
     13       H.L. Chapman          7100-000     $174,376.20    $174,376.20     $174,376.20     $3,858.90
              Pipeline
              Construction, Inc.
     17       MWH GROUP,            7100-000        $421.36        $421.36         $421.36          $9.32
              PC
     18       West Texas            7100-000     $710,182.00    $711,682.00     $711,682.00    $15,749.33
              Boring Co. LLC
     19       H&E Equipment         7100-000       $1,507.14      $1,479.35       $1,479.35       $32.74
              Services, Inc.
     20       Elkhorn               7100-000       $7,936.20      $7,936.20       $7,936.20      $175.63
              Construction Inc.
     21       John Deere            7100-000     $150,334.32     $44,763.11      $44,763.11      $990.60
              Financial
     22       John Deere            7100-000     $150,334.32     $71,215.02      $71,215.02     $1,575.97
              Financial
     23       Castle Trenching      7100-000      $14,925.00     $14,925.00      $14,925.00      $330.29
     24       VFS Leasing Co.       7100-000      $18,654.71     $10,343.66      $10,343.66      $228.90

UST Form 101-7-TDR (10/1/2010)
Case 16-70245-hdh7 Doc 287 Filed 02/19/21       Entered 02/19/21 15:46:31        Page 8 of 25


     25       VFS Leasing Co.    7100-000    $18,654.71    $32,746.34    $32,746.34     $724.67
     26       RDO Equipment      7100-000     $6,856.71     $6,921.46     $6,921.46     $153.17
     27       NTTA               7100-000       $14.55       $912.28       $912.28       $20.19
     28       Western Supplies   7100-000    $10,165.52    $10,568.22    $10,568.22     $233.87
              Inc.
     29       Wells Fargo        7100-000      $231.71     $11,335.32    $11,335.32     $250.85
              Vendor Financial
              Services
    30A       CNH Industrial     7100-000    $84,334.87    $70,733.69    $70,733.69    $1,565.32
              Capital America
              LLC
    32A       CNH Industrial     7100-000    $49,084.52    $63,877.81    $63,877.81    $1,413.60
              Capital America
              LLC
    33A       CNH Industrial     7100-000         $0.00    $28,853.23    $28,853.23     $638.51
              Capital America
              LLC
    34A       CNH Industrial     7100-000         $0.00    $45,033.89    $45,033.89     $996.59
              Capital America
              LLC
    35A       CNH Industrial     7100-000         $0.00    $20,185.69    $20,185.69     $446.70
              Capital America
              LLC
    36A       CNH Industrial     7100-000         $0.00    $33,501.66    $33,501.66     $741.38
              Capital America
              LLC
    37A       CNH Industrial     7100-000         $0.00    $55,402.23    $55,402.23    $1,226.04
              Capital America
              LLC
    38A       CNH Industrial     7100-000         $0.00    $75,702.37    $75,702.37    $1,675.27
              Capital America
              LLC
     40       JML                7100-000    $14,500.00    $14,500.00    $14,500.00     $320.88
              Management, Inc.
     42       Southland Safety   7100-000     $2,000.00     $2,000.00     $2,000.00      $44.26
     43       Gajeske, Inc.      7100-000   $445,635.14   $500,979.90   $500,979.90   $11,086.55
     45       Employee           7100-000      $102.00       $102.00       $102.00         $0.00
              Benefits
              Corporation
              Clerk, US          7100-001         $0.00         $0.00         $0.00        $2.26
              Bankruptcy Court
              (Claim No. 45;
              Employee
              Benefits
              Corporation)
     46       Harold             7100-000   $116,606.51   $254,106.86         $0.00        $0.00
              &quot;Tex&quot;
              Allen, Jr.
     47       Jason Allen        7100-000    $53,818.39   $191,318.82         $0.00        $0.00
     48       Operating          7100-000         $0.00     $5,000.00         $0.00        $0.00
              Capital, LLC

UST Form 101-7-TDR (10/1/2010)
Case 16-70245-hdh7 Doc 287 Filed 02/19/21         Entered 02/19/21 15:46:31        Page 9 of 25


     49       Wise Fire &          7100-000     $5,642.72     $5,817.39     $5,817.39    $128.74
              Safety, LLC.
     51       The Travelers        7100-000         $0.00         $0.00         $0.00      $0.00
              Indemnity
              Company
     52       Caterpillar          7100-000    $41,357.65   $411,281.33   $411,281.33   $9,101.55
              Financial Services
              Corp.
     53       The Travelers        7100-000         $0.00         $0.00         $0.00      $0.00
              Indemnity
              Company
     55       John Deere           7100-000   $150,334.32    $16,118.82    $16,118.82    $356.71
              Financial
     56       John Deere           7100-000   $150,334.32    $17,940.87    $17,940.87    $397.03
              Financial
     57       John Deere           7100-000   $150,334.32    $31,948.37    $31,948.37    $707.01
              Financial
     58       John Deere           7100-000   $150,334.32    $41,826.94    $41,826.94    $925.62
              Financail
     59       John Deere           7100-000   $150,334.32    $33,701.19    $33,701.19    $745.80
              Financial
     60       John Deere           7100-000   $150,334.32    $72,430.69    $72,430.69   $1,602.87
              Financial
    61a       Comptroller of       7100-000         $0.00     $1,070.50     $1,070.50     $23.69
              Public Accounts
     62       RHJR, Ltd., dba      7200-000         $0.00      $322.94       $322.94       $0.00
              Alvord Building
              Center
    63b       Internal Revenue     7200-000         $0.00    $50,811.64    $12,008.47      $0.00
              Service
     64       William B. Dean      7200-000         $0.00         $0.00         $0.00      $0.00
     65       Jacob Watters        7200-000         $0.00         $0.00         $0.00      $0.00
     66       The Building         7100-000         $0.00      $277.18       $277.18       $6.13
              Centers
              A-1 Porta Privy      7100-000      $183.60          $0.00         $0.00      $0.00
              Aflac Group          7100-000      $534.72          $0.00         $0.00      $0.00
              Asco Equipment       7100-000      $103.91          $0.00         $0.00      $0.00
              AT&T                 7100-000      $189.41          $0.00         $0.00      $0.00
              AT&T Mobility        7100-000      $334.73          $0.00         $0.00      $0.00
              Barco Rent A         7100-000     $6,332.53         $0.00         $0.00      $0.00
              Truck
              Bartons Welding      7100-000       $23.50          $0.00         $0.00      $0.00
              Supply
              BK Electric LLC      7100-000     $4,043.49         $0.00         $0.00      $0.00
              Blue Cross Blue      7100-000    $19,318.02         $0.00         $0.00      $0.00
              Shield of Texas
              Bridgeport Tank      7100-000     $1,676.20         $0.00         $0.00      $0.00
              Trucks


UST Form 101-7-TDR (10/1/2010)
Case 16-70245-hdh7 Doc 287 Filed 02/19/21         Entered 02/19/21 15:46:31     Page 10 of 25


               CCA Partners,        7100-000   $436,926.73     $0.00          $0.00     $0.00
               LLC
               Cullen               7100-000     $7,200.00     $0.00          $0.00     $0.00
               Environmental
               David Brickey        7100-000    $55,493.28     $0.00          $0.00     $0.00
               Dearborn             7100-000     $4,081.45     $0.00          $0.00     $0.00
               National
               Decatur Tire         7100-000     $2,260.34     $0.00          $0.00     $0.00
               Store
               Eagle NDT LLC        7100-000     $2,654.76     $0.00          $0.00     $0.00
               Energy Service       7100-000     $6,300.00     $0.00          $0.00     $0.00
               Company of
               Bowie
               GE Capital           7100-000      $463.42      $0.00          $0.00     $0.00
               Got to Go            7100-000     $1,829.43     $0.00          $0.00     $0.00
               Solutions, Inc
               Hawkeye              7100-000     $3,620.00     $0.00          $0.00     $0.00
               Underground
               Honstein Oil and     7100-000    $18,224.68     $0.00          $0.00     $0.00
               Distributing
               Hudson Imaging       7100-000      $605.44      $0.00          $0.00     $0.00
               Systems
               Jesse P Taylor Oil   7100-000     $7,933.49     $0.00          $0.00     $0.00
               Co
               Joe McElreath Co     7100-000   $149,373.29     $0.00          $0.00     $0.00
               Inc
               Link Field           7100-000     $5,375.50     $0.00          $0.00     $0.00
               Services Inc
               Martin Marietta      7100-000     $1,748.24     $0.00          $0.00     $0.00
               Materials Inc
               Megapath             7100-000     $1,588.19     $0.00          $0.00     $0.00
               Modular Space        7100-000     $9,265.08     $0.00          $0.00     $0.00
               Corp
               Montgomery           7100-000     $6,677.64     $0.00          $0.00     $0.00
               Coscia Greilich
               LLP
               MRC Capital          7100-000     $1,637.64     $0.00          $0.00     $0.00
               Pettit Machinery     7100-000       $39.23      $0.00          $0.00     $0.00
               Inc
               Praxair              7100-000      $274.83      $0.00          $0.00     $0.00
               QP Energy            7100-000     $1,455.30     $0.00          $0.00     $0.00
               Services
               Ram Products Ltd     7100-000       $37.42      $0.00          $0.00     $0.00
               Reliant Energy       7100-000      $159.89      $0.00          $0.00     $0.00
               Safety-Kleen         7100-000      $545.00      $0.00          $0.00     $0.00
               Systems
               Sniper Elite         7100-000     $1,482.00     $0.00          $0.00     $0.00
               Oilfield Services

 UST Form 101-7-TDR (10/1/2010)
Case 16-70245-hdh7 Doc 287 Filed 02/19/21         Entered 02/19/21 15:46:31          Page 11 of 25


               LLC
               Superior Vision    7100-000      $1,157.70          $0.00          $0.00         $0.00
               Services Inc
               United Fire        7100-000         $20.00          $0.00          $0.00         $0.00
               Group
               Utility Training   7100-000      $2,244.60          $0.00          $0.00         $0.00
               Academy Inc
               Wise-6             7100-000      $1,458.52          $0.00          $0.00         $0.00
               Enterprises LTD
               Zack Burkett Co    7100-000     $16,797.48          $0.00          $0.00         $0.00
 TOTAL GENERAL UNSECURED CLAIMS              $4,132,888.54 $3,555,272.91   $3,066,044.06   $67,577.84




 UST Form 101-7-TDR (10/1/2010)
                                          Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                                FORM 1
                                                                                      Entered 02/19/21 15:46:31                                Page 12 of 25
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    1              Exhibit 8
                                                                                ASSET CASES

Case No.:                      16-70245-HDH167024                                                                                     Trustee Name:                               Shawn K. Brown
Case Name:                     TOTAL OPERATING, LLC
                               50                                                                                                     Date Filed (f) or Converted (c):            07/30/2016 (f)
For the Period Ending:         2/3/2021                                                                                               §341(a) Meeting Date:                       08/30/2016
                                                                                                                                      Claims Bar Date:                            12/15/2016

                                    1                              2                        3                                 4                        5                                         6

                         Asset Description                       Petition/           Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                       Unscheduled          (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                    Value                    Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                   Less Liens, Exemptions,
                                                                                      and Other Costs)

 Ref. #
1       Bank Funds-FSB Chico                                       $33,938.20                        $41,880.96                                       $41,880.96                                             FA
2       SemGroup shares-15                               (u)              $0.00                         $848.76                                            $372.66                                           FA
3       Triumph Savings Bank escrow and cash reserves              $32,912.84                                $0.00                                           $0.00                                           FA
Asset Notes:       Factored A/R
4       IPFS Corp-Insurance Finance Company                        $24,583.12                        $24,583.12                                        $2,444.48                                             FA
5       Republic Services utility deposit                               $750.00                         $750.00                                              $0.00                                           FA
6       Capital One account 2370 (overdrawn)                              $0.00                              $0.00                                           $0.00                                           FA
7       Capital One savings account 2389                                 $12.03                          $12.03                                              $0.00                                           FA
8       Accounts receivables                                       $25,511.00                            $50.00                                             $50.00                                           FA
9       Uninvoiced accounts receivables                            $75,000.00                                $0.00                                           $0.00                                           FA
10      Office furniture                                               $1,517.00                             $0.00                                         $833.03                                           FA
11      Office equipment                                           $22,754.00                                $0.00                                         $271.01                                           FA
12      Vehicles and equipment                                   $1,008,500.00                               $0.00                                   $452,043.62                                             FA
13      Office trailer                                             $19,292.00                                $0.00                                           $0.00                                           FA
14      Storage building                                                  $0.00                              $0.00                                           $0.00                                           FA
15      Employee loans Cuellar and Villegas                            $3,616.68                      $3,616.68                                              $0.00                                           FA
16      Lawsuit vs. Allens and Brickley                          $1,000,000.00                      $100,000.00                                              $0.00                                           FA
17      Capital One Credit Card credit balance #4699     (u)              $0.00                          $42.83                                             $42.83                                           FA
17      Capital One Credit Card credit balance #4699     (u)              $0.00                          $42.83                                              $0.00                                           FA
18      Post petition rent for 3 F-250 Trucks            (u)              $0.00                       $2,079.00                                        $2,079.00                                             FA
19      ADT Security Refund                              (u)              $0.00                         $195.98                                            $195.98                                           FA
20      Insurance refund-Travelers                       (u)              $0.00                      $16,740.00                                       $16,740.00                                             FA
Asset Notes:       Letter 3.14.17
21      Claims against Jacob Waters and Barrett Dean     (u)              $0.00                      $55,000.00                                              $0.00                                           FA
Asset Notes:       Settled and released
22      Caterpillar credit refund                        (u)              $0.00                          $14.78                                             $14.78                                           FA


TOTALS (Excluding unknown value)                                                                                                                                                Gross Value of Remaining Assets
                                                                 $2,248,386.87                     $245,856.97                                       $516,968.35                                        $0.00
                                      Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                            FORM 1
                                                                                  Entered 02/19/21 15:46:31                   Page 13 of 25
                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                         Page No:    2              Exhibit 8
                                                                           ASSET CASES

Case No.:                  16-70245-HDH167024                                                                        Trustee Name:                              Shawn K. Brown
Case Name:                 TOTAL OPERATING, LLC
                           50                                                                                        Date Filed (f) or Converted (c):           07/30/2016 (f)
For the Period Ending:     2/3/2021                                                                                  §341(a) Meeting Date:                      08/30/2016
                                                                                                                     Claims Bar Date:                           12/15/2016

                              1                                2                   3                         4                        5                                         6

                       Asset Description                     Petition/      Estimated Net Value           Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                     Unscheduled     (Value Determined by           Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                  Value               Trustee,          OA =§ 554(a) abandon.         the Estate
                                                                          Less Liens, Exemptions,
                                                                             and Other Costs)



    Major Activities affecting case closing:
                                      Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                            FORM 1
                                                                                  Entered 02/19/21 15:46:31                          Page 14 of 25
                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                              Page No:    3              Exhibit 8
                                                                             ASSET CASES

Case No.:                  16-70245-HDH167024                                                                               Trustee Name:                              Shawn K. Brown
Case Name:                 TOTAL OPERATING, LLC
                           50                                                                                               Date Filed (f) or Converted (c):           07/30/2016 (f)
For the Period Ending:     2/3/2021                                                                                         §341(a) Meeting Date:                      08/30/2016
                                                                                                                            Claims Bar Date:                           12/15/2016

                              1                                  2                        3                         4                        5                                         6

                       Asset Description                       Petition/           Estimated Net Value           Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                       Unscheduled          (Value Determined by           Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                    Value                    Trustee,          OA =§ 554(a) abandon.         the Estate
                                                                                 Less Liens, Exemptions,
                                                                                    and Other Costs)

     10/23/2019     ASSETS ARE VEHICLES, EQUIPMENT, A/R, CASH, CHAPTER 5 ACTIONS AND LITIGATION CLAIMS


                    UPDATE 10.13.16-AUCTION SALE APPROVED AND PROCEEDING 10.13.16.


                    UPDATE 5.17.17-AUCTION CONCLUDED. LITIGATION PENDING. POTENTIAL CHAPTER 5 ACTIONS BEING ANALYZED.


                    UPDATE 10.24.17-LITIGATION PENDING. CHAPTER 5 ACTIONS BEING REVIEWED BY CPA.


                    UPDATE 4.11.18-HEARING ON SALE OF CAUSES OF ACTION SCHEDULED FOR APRIL 19, 2018.


                    UPDATE 10.16.18-SALE OF CLAIMS ORDER IS ON APPEAL. SPECIAL COUNSEL HAS BEEN ENGAGED TO PURSUE LITIGATION PENDING OUTCOME OF APPEAL .


                    UPDATE 4.24.19 – ORDER ON SALE OF CLAIMS TO RETICULUM WAS UPHELD ON APPEAL. TRUSTEE HAD INITIATED AN ADVERSARY CASE AGAINST
                    RETICULUM PENDING THE OUTCOME OF THE APPEAL, AND THAT CASE SHALL REMAIN PENDING UNTIL A RESOLUTION IS REACHED ON RETICULUM’S
                    COMPLIANCE WITH THE SALE OF CLAIMS ORDER. THE TRUSTEE’S LAWSUIT AGAINST INSIDERS JACOB WATTERS AND BARRETT DEAN HAS BEEN
                    STAYED DUE TO THE CHAPTER 7 BANKRUPTCY FILING OF ONE OF THE DEFENDANTS, IN RE WILLIAM BERRY DEAN, III, BANKR. N.D. TEX. 19-31232.


                    UPDATE 10.23.19-LITIGATION WITH RETICULUM MANAGEMENT RESOLVED. CLAIMS OBJECTIONS IN PROCESS. TAX COMPLIANCE IN PROCESS.




                    MAJOR ACTIVITIES:


                    SECURE PROPERTY-DONE
                    SECURE DOCUMENTS AND DATA-DONE


                    CLAIMS BAR DATE SET: 9.16.16
                    CLAIMS REVIEW DATE: 7.30.18
                    CLAIMS OBJECTIONS FILED DATE: 7.30.18
                    FINAL ALLOWANCE DATE:


                    EMPLOY CPA: DONE
                                      Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                            FORM 1
                                                                                  Entered 02/19/21 15:46:31                                        Page 15 of 25
                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Page No:    4              Exhibit 8
                                                                                  ASSET CASES

Case No.:                  16-70245-HDH167024                                                                                             Trustee Name:                              Shawn K. Brown
Case Name:                 TOTAL OPERATING, LLC
                           50                                                                                                             Date Filed (f) or Converted (c):           07/30/2016 (f)
For the Period Ending:     2/3/2021                                                                                                       §341(a) Meeting Date:                      08/30/2016
                                                                                                                                          Claims Bar Date:                           12/15/2016

                               1                                      2                            3                              4                        5                                         6

                       Asset Description                            Petition/               Estimated Net Value                Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                            Unscheduled              (Value Determined by                Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                         Value                        Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                          Less Liens, Exemptions,
                                                                                             and Other Costs)

                    TAX RETURN 505 LETTER SENT DATE: 2016 and 2017 sent 7.31.18
                    PROMPT DETERMINATION RECEIVED DATE: Audit finalized and letter received 1.21.20


                    PREFERENCE/FRAUDULENT TRANSFER REVIEW


                    TFR PREPARED AND SENT TO UST DATE: 3.16.20
                    TFR APPROVED AND FILED DATE: 6.25.20--Amended filed 9.21.20
                    FEE APPLICATIONS FILED DATE: 6.26.20
                    TFR FINAL AND CHECKS MAILED DATE: 10.27.20
                    ZERO BALANCE DATE: 1.31.21
                    TDR SENT TO UST DATE: 2.3.21
                    TDR FILED DATE:


Initial Projected Date Of Final Report (TFR):    12/31/2020                       Current Projected Date Of Final Report (TFR):                                /s/ SHAWN K. BROWN
                                                                                                                                                               SHAWN K. BROWN
                                        Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                              FORMEntered
                                                                                   2      02/19/21 15:46:31                               Page 16 ofPage
                                                                                                                                                      25No: 1                    Exhibit 9
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-70245-HDH16702450                                                                  Trustee Name:                        Shawn K. Brown
 Case Name:                        TOTAL OPERATING, LLC                                                                  Bank Name:                           Independent Bank
Primary Taxpayer ID #:             **-***0017                                                                            Checking Acct #:                    ******0245
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:
For Period Beginning:              7/30/2016                                                                             Blanket bond (per case limit):       $300,000.00
For Period Ending:                 2/3/2021                                                                              Separate bond (if applicable):

       1                2                                   3                                         4                                         5                6                       7

   Transaction       Check /                            Paid to/              Description of Transaction                  Uniform            Deposit        Disbursement              Balance
      Date            Ref. #                         Received From                                                       Tran Code             $                 $


08/18/2016            (8)      MELISSA COWLEY                        A/R                                                  1121-000              $50.00                                       $50.00
08/18/2016            (17)     CAPITAL ONE BANK                      Credit balance card #4699                            1221-000              $42.83                                       $92.83
08/31/2016                     Integrity Bank                        Bank Service Fee                                     2600-000                                      $0.06                $92.77
09/02/2016            (1)      FIRST STATE BANK CHICO                Bank funds turnover                                  1129-000           $41,880.96                                  $41,973.73
09/13/2016            (2)      SEMGROUP                              STOCK DIVIDEND                                       1223-000                  $6.75                                $41,980.48
09/13/2016            (18)     WH OPERATING LLC                      RENT FOR 3 F-250 TRUCK LEASES                        1229-000            $2,079.00                                  $44,059.48
09/30/2016                     Integrity Bank                        Bank Service Fee                                     2600-000                                     $56.47            $44,003.01
09/30/2016           2001      Clerk, US Bankruptcy Court            Certified copy                                       2700-000                                     $11.50            $43,991.51
10/05/2016            (2)      SemGroup                              Stock account                                        1223-000              $42.06                                   $44,033.57
10/10/2016            (2)      SEMGROUP                              STOCK DIVIDEND                                       1223-000             $323.85                                   $44,357.42
10/26/2016            (19)     ADT SECURITY SERVICES                 Refund                                               1290-000             $195.98                                   $44,553.40
10/31/2016                     Integrity Bank                        Bank Service Fee                                     2600-000                                     $71.39            $44,482.01
11/07/2016                     ROSEN SYSTEMS INC.                    AUCTION SALE PROCEEDS                                   *              $451,197.66                                 $495,679.67
                      {10}                                                                                    $833.03     1129-000                                                      $495,679.67
                      {11}                                                                                    $271.01     1129-000                                                      $495,679.67
                      {12}                                                                                 $450,093.62    1129-000                                                      $495,679.67
11/14/2016           2002      Operating Capital LLC                 Administrative rent per order                        2410-000                                   $8,000.00          $487,679.67
11/30/2016                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $608.55           $487,071.12
12/21/2016           2003      Rosen Systems, Inc.                   Auctioneer expenses-Order DE# 68                     3620-000                               $24,472.12             $462,599.00
12/31/2016                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $780.52           $461,818.48
01/26/2017           2004      George Adams and Co Ins. Agency LLC   Separate bond payment                                2300-000                                    $693.00           $461,125.48
01/31/2017                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $744.88           $460,380.60
02/28/2017                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $670.70           $459,709.90
03/29/2017           2005      Capital One, National Association     Order DE# 79                                         4210-000                               $65,253.06             $394,456.84
03/31/2017                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $738.09           $393,718.75
04/11/2017            (20)     TRAVELERS PROPERTY CASUALTY           Premium refund                                       1229-000           $16,740.00                                 $410,458.75
04/30/2017                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $630.24           $409,828.51
05/18/2017            (12)     Rosen Systems, Inc.                   Sale proceeds trailer                                1129-000            $1,950.00                                 $411,778.51
                                                                                                                         SUBTOTALS          $514,509.09         $102,730.58
                                        Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                              FORMEntered
                                                                                   2      02/19/21 15:46:31                                Page 17 ofPage
                                                                                                                                                       25No: 2                   Exhibit 9
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-70245-HDH16702450                                                                   Trustee Name:                      Shawn K. Brown
 Case Name:                        TOTAL OPERATING, LLC                                                                   Bank Name:                         Independent Bank
Primary Taxpayer ID #:             **-***0017                                                                             Checking Acct #:                  ******0245
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:
For Period Beginning:              7/30/2016                                                                              Blanket bond (per case limit):     $300,000.00
For Period Ending:                 2/3/2021                                                                               Separate bond (if applicable):

       1                2                                 3                                         4                                           5                6                       7

   Transaction       Check /                            Paid to/            Description of Transaction                     Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                         Received From                                                        Tran Code            $                $


05/31/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $609.75           $411,168.76
06/30/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $591.10           $410,577.66
07/13/2017           2006      Rosen Systems, Inc.                   Expenses Order DE# 115                                3620-000                                   $377.54           $410,200.12
07/31/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $609.67           $409,590.45
08/07/2017            (4)      IPFS CORPORATION                      Unearned premium refund-DEPOSIT RETURNED-NOT          1121-000           $3,119.48                                 $412,709.93
                                                                     AUTHORIZED-PREVIOUSLY PAID BY TRAVELERS.
08/21/2017            (4)      DEP REVERSE: IPFS CORPORATION         Unearned premium refund-DEPOSIT RETURNED-NOT          1121-000          ($3,119.48)                                $409,590.45
                                                                     AUTHORIZED-PREVIOUSLY PAID BY TRAVELERS.
08/28/2017            (4)      IPFS CORPORATION                      REFUND                                                1121-000           $2,444.48                                 $412,034.93
08/31/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $608.99           $411,425.94
09/30/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $591.47           $410,834.47
10/31/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $610.31           $410,224.16
11/30/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $589.74           $409,634.42
12/13/2017           2007      George Adams and Co Ins. Agency LLC   Separate bond payment-Invoice 2822 1/25/18-1/25/19    2300-000                                   $693.00           $408,941.42
12/31/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $608.09           $408,333.33
01/31/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $606.59           $407,726.74
02/28/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $547.07           $407,179.67
03/31/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $604.88           $406,574.79
04/30/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $584.49           $405,990.30
05/01/2018            (22)     CATERPILLAR                           Credit balance refund                                 1290-000              $14.78                                 $406,005.08
05/31/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $603.13           $405,401.95
06/30/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $582.82           $404,819.13
07/31/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                   $601.38           $404,217.75
08/05/2018                     Independent Bank                      Bank Service Fee                                      2600-000                                    $96.86           $404,120.89
08/06/2018                     Independent Bank                      Bank Service Fee                                      2600-000                                   ($96.86)          $404,217.75
08/31/2018                     Independent Bank                      Bank Service Fee                                      2600-000                                  $7,073.81          $397,143.94
09/05/2018                     Independent Bank                      Bank Service Fee                                      2600-000                              ($7,073.81)            $404,217.75
09/06/2018                     Independent Bank                      Bank Service Fee                                      2600-000                                   $600.79           $403,616.96
                                                                                                                          SUBTOTALS            $2,459.26         $10,620.81
                                        Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                              FORMEntered
                                                                                   2      02/19/21 15:46:31                                         Page 18 ofPage
                                                                                                                                                                25No: 3                   Exhibit 9
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-70245-HDH16702450                                                                            Trustee Name:                       Shawn K. Brown
 Case Name:                        TOTAL OPERATING, LLC                                                                            Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***0017                                                                                      Checking Acct #:                   ******0245
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:
For Period Beginning:              7/30/2016                                                                                       Blanket bond (per case limit):      $300,000.00
For Period Ending:                 2/3/2021                                                                                        Separate bond (if applicable):

       1                2                                  3                                          4                                                  5                6                       7

   Transaction       Check /                            Paid to/             Description of Transaction                             Uniform           Deposit        Disbursement              Balance
      Date            Ref. #                         Received From                                                                 Tran Code            $                 $


01/04/2019           2008      George Adams and Co Ins. Agency LLC   Bond renewal-reduced $410,000                                  2300-000                                   $615.00           $403,001.96
12/17/2019           2009      George Adams and Co Ins. Agency LLC   Bond renewal-reduced $410,000 effective                        2300-000                                   $615.00           $402,386.96
                                                                     12/25/20-1/25/21
02/03/2020           2010      Reticulum Management, LLC             Order Dkt# 253                                                 4210-000                                  $6,424.56          $395,962.40
03/04/2020            2011     Rochelle McCullough LLP               Order Dkt # 261                                                3210-000                              $163,974.59            $231,987.81
03/04/2020           2012      Rochelle McCullough LLP               Order Dkt# 261                                                 3220-000                               $14,379.41            $217,608.40
03/04/2020           2013      Litzler Segner Shaw & McKenney LLP    Order Dkt# 261                                                 3410-000                               $59,445.00            $158,163.40
03/04/2020           2014      Litzler Segner Shaw & McKenney LLP    Order Dkt# 261                                                 3420-000                                   $355.17           $157,808.23
10/27/2020                     INTERNAL REVENUE SERVICE              First and final distribution re: Claim #: ; Dividend: 2.30;    5300-000                                  $3,642.50          $154,165.73
                                                                     Distribution Dividend: 100.00; Account Number: ; Claim
                                                                     #: ;
10/27/2020                     INTERNAL REVENUE SERVICE              First and final distribution re: Claim #: ; Dividend: 0.68;    5800-000                                  $1,086.82          $153,078.91
                                                                     Distribution Dividend: 100.00; Account Number: ; Claim
                                                                     #: ;
10/27/2020           2015      Shawn K. Brown                        Trustee Compensation                                           2100-000                               $20,680.00            $132,398.91
10/27/2020           2016      Shawn K. Brown                        Trustee Expenses                                               2200-000                                   $329.77           $132,069.14
10/27/2020           2017      TEXAS WORKFORCE COMMISSION            First and final distribution re: Claim #: ; Dividend: 0.08;    5800-000                                   $130.42           $131,938.72
                                                                     Distribution Dividend: 100.00; Account Number: ; Claim
                                                                     #: ;
10/27/2020           2018      Holt Texas Ltd. dba Holt CAT          First and final distribution re: Claim #: 1; Dividend:         7100-000                                  $8,148.73          $123,789.99
                                                                     5.16; Distribution Dividend: 2.21; Account Number:
                                                                     6251; Claim #: 1;
10/27/2020           2019      Link Field Services, Inc.             First and final distribution re: Claim #: 2; Dividend:         7100-000                                   $118.95           $123,671.04
                                                                     0.07; Distribution Dividend: 2.21; Account Number: ;
                                                                     Claim #: 2;
10/27/2020           2020      Airgas USA, LLC                       First and final distribution re: Claim #: 5; Dividend:         7100-000                                    $88.48           $123,582.56
                                                                     0.05; Distribution Dividend: 2.21; Account Number: ;
                                                                     Claim #: 5;




                                                                                                                                   SUBTOTALS                 $0.00       $280,034.40
                                       Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                             FORMEntered
                                                                                  2      02/19/21 15:46:31                                           Page 19 ofPage
                                                                                                                                                                 25No: 4                   Exhibit 9
                                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-70245-HDH16702450                                                                             Trustee Name:                       Shawn K. Brown
 Case Name:                        TOTAL OPERATING, LLC                                                                             Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***0017                                                                                       Checking Acct #:                   ******0245
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:              7/30/2016                                                                                        Blanket bond (per case limit):      $300,000.00
For Period Ending:                 2/3/2021                                                                                         Separate bond (if applicable):

       1                2                                    3                                             4                                              5                6                       7

   Transaction       Check /                          Paid to/                    Description of Transaction                         Uniform           Deposit        Disbursement              Balance
      Date            Ref. #                       Received From                                                                    Tran Code            $                 $


10/27/2020           2021      Laura Hayek-Anderson                       First and final distribution re: Claim #: 6; Dividend:     5300-000                                  $1,558.13          $122,024.43
                                                                          0.98; Distribution Dividend: 100.00; Account Number: ;
                                                                          Claim #: 6;
10/27/2020           2022      DISA Global Solutions, Inc.                First and final distribution re: Claim #: 7; Dividend:     7100-000                                    $10.63           $122,013.80
                                                                          0.00; Distribution Dividend: 2.21; Account Number: ;
                                                                          Claim #: 7;
10/27/2020           2023      Gary Cox                                   First and final distribution re: Claim #: 8; Dividend:     5300-000                                  $2,821.65          $119,192.15
                                                                          1.78; Distribution Dividend: 100.00; Account Number: ;
                                                                          Claim #: 8;
10/27/2020           2024      Marty Henson                               First and final distribution re: Claim #: 9; Dividend:     5300-000                                  $1,953.45          $117,238.70
                                                                          1.23; Distribution Dividend: 100.00; Account Number: ;
                                                                          Claim #: 9;
10/27/2020           2025      Airgas USA, LLC                            First and final distribution re: Claim #: 10; Dividend:    7100-000                                   $473.64           $116,765.06
                                                                          0.30; Distribution Dividend: 2.21; Account Number: ;
                                                                          Claim #: 10;
10/27/2020           2026      James Vicari                               First and final distribution re: Claim #: 11; Dividend:    5300-000                                  $3,197.87          $113,567.19
                                                                          2.02; Distribution Dividend: 100.00; Account Number: ;
                                                                          Claim #: 11;
10/27/2020           2027      Comdata Inc.                               First and final distribution re: Claim #: 12; Dividend:    7100-000                                   $250.47           $113,316.72
                                                                          0.15; Distribution Dividend: 2.21; Account Number:
                                                                          0225; Claim #: 12;
10/27/2020           2028      H.L. Chapman Pipeline Construction, Inc.   First and final distribution re: Claim #: 13; Dividend:    7100-000                                  $3,858.90          $109,457.82
                                                                          2.44; Distribution Dividend: 2.21; Account Number: ;
                                                                          Claim #: 13;
10/27/2020           2029      Bowie ISD                                  First and final distribution re: Claim #: 14; Dividend:    4800-000                                  $4,657.12          $104,800.70
                                                                          2.95; Distribution Dividend: 100.00; Account Number: ;
                                                                          Claim #: 14;
10/27/2020           2030      Montague County                            First and final distribution re: Claim #: 15; Dividend:    4800-000                                   $401.17           $104,399.53
                                                                          0.25; Distribution Dividend: 100.00; Account Number: ;
                                                                          Claim #: 15;



                                                                                                                                    SUBTOTALS                 $0.00        $19,183.03
                                       Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                             FORMEntered
                                                                                  2      02/19/21 15:46:31                                       Page 20 ofPage
                                                                                                                                                             25No: 5                   Exhibit 9
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-70245-HDH16702450                                                                         Trustee Name:                       Shawn K. Brown
 Case Name:                        TOTAL OPERATING, LLC                                                                         Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***0017                                                                                   Checking Acct #:                   ******0245
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:
For Period Beginning:              7/30/2016                                                                                    Blanket bond (per case limit):      $300,000.00
For Period Ending:                 2/3/2021                                                                                     Separate bond (if applicable):

       1                2                                  3                                           4                                              5                6                       7

   Transaction       Check /                             Paid to/             Description of Transaction                         Uniform           Deposit        Disbursement              Balance
      Date            Ref. #                          Received From                                                             Tran Code            $                 $


10/27/2020           2031      Texas Workforce Commission             First and final distribution re: Claim #: 16; Dividend:    5800-000                                   $502.48           $103,897.05
                                                                      0.31; Distribution Dividend: 100.00; Account Number:
                                                                      0350; Claim #: 16;
10/27/2020           2032      MWH GROUP, PC                          First and final distribution re: Claim #: 17; Dividend:    7100-000                                     $9.32           $103,887.73
                                                                      0.00; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 17;
10/27/2020           2033      West Texas Boring Co. LLC              First and final distribution re: Claim #: 18; Dividend:    7100-000                              $15,749.33              $88,138.40
                                                                      9.98; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 18;
10/27/2020           2034      H&E Equipment Services, Inc.           First and final distribution re: Claim #: 19; Dividend:    7100-000                                    $32.74            $88,105.66
                                                                      0.02; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 19;
10/27/2020           2035      Elkhorn Construction Inc.              First and final distribution re: Claim #: 20; Dividend:    7100-000                                   $175.63            $87,930.03
                                                                      0.11; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 20;
10/27/2020           2036      John Deere Financial                   First and final distribution re: Claim #: 21; Dividend:    7100-000                                   $990.60            $86,939.43
                                                                      0.62; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 21;
10/27/2020           2037      John Deere Financial                   First and final distribution re: Claim #: 22; Dividend:    7100-000                                  $1,575.97           $85,363.46
                                                                      0.99; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 22;
10/27/2020           2038      Castle Trenching                       First and final distribution re: Claim #: 23; Dividend:    7100-000                                   $330.29            $85,033.17
                                                                      0.20; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 23;
10/27/2020           2039      VFS Leasing Co.                        First and final distribution re: Claim #: 24; Dividend:    7100-000                                   $228.90            $84,804.27
                                                                      0.14; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 24;
10/27/2020           2040      VFS Leasing Co.                        First and final distribution re: Claim #: 25; Dividend:    7100-000                                   $724.67            $84,079.60
                                                                      0.45; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 25;



                                                                                                                                SUBTOTALS                 $0.00        $20,319.93
                                        Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                              FORMEntered
                                                                                   2      02/19/21 15:46:31                                       Page 21 ofPage
                                                                                                                                                              25No: 6                   Exhibit 9
                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-70245-HDH16702450                                                                          Trustee Name:                       Shawn K. Brown
 Case Name:                        TOTAL OPERATING, LLC                                                                          Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***0017                                                                                    Checking Acct #:                   ******0245
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:              7/30/2016                                                                                     Blanket bond (per case limit):      $300,000.00
For Period Ending:                 2/3/2021                                                                                      Separate bond (if applicable):

       1                2                                 3                                             4                                              5                6                       7

   Transaction       Check /                          Paid to/                 Description of Transaction                         Uniform           Deposit        Disbursement              Balance
      Date            Ref. #                       Received From                                                                 Tran Code            $                 $


10/27/2020           2041      RDO Equipment                           First and final distribution re: Claim #: 26; Dividend:    7100-000                                   $153.17            $83,926.43
                                                                       0.09; Distribution Dividend: 2.21; Account Number: ;
                                                                       Claim #: 26;
10/27/2020           2042      NTTA                                    First and final distribution re: Claim #: 27; Dividend:    7100-000                                     $20.19           $83,906.24
                                                                       0.01; Distribution Dividend: 2.21; Account Number: ;
                                                                       Claim #: 27;
10/27/2020           2043      Western Supplies Inc.                   First and final distribution re: Claim #: 28; Dividend:    7100-000                                   $233.87            $83,672.37
                                                                       0.14; Distribution Dividend: 2.21; Account Number: ;
                                                                       Claim #: 28;
10/27/2020           2044      Wells Fargo Vendor Financial Services   First and final distribution re: Claim #: 29; Dividend:    7100-000                                   $250.85            $83,421.52
                                                                       0.15; Distribution Dividend: 2.21; Account Number: ;
                                                                       Claim #: 29;
10/27/2020           2045      CNH Industrial Capital America LLC      First and final distribution re: Claim #: 30; Dividend:    7100-000                                  $1,565.32           $81,856.20
                                                                       0.99; Distribution Dividend: 2.21; Account Number: ;
                                                                       Claim #: 30;
10/27/2020           2046      CNH Industrial Capital America LLC      First and final distribution re: Claim #: 32; Dividend:    7100-000                                  $1,413.60           $80,442.60
                                                                       0.89; Distribution Dividend: 2.21; Account Number: ;
                                                                       Claim #: 32;
10/27/2020           2047      CNH Industrial Capital America LLC      First and final distribution re: Claim #: 33; Dividend:    7100-000                                   $638.51            $79,804.09
                                                                       0.40; Distribution Dividend: 2.21; Account Number: ;
                                                                       Claim #: 33;
10/27/2020           2048      CNH Industrial Capital America LLC      First and final distribution re: Claim #: 34; Dividend:    7100-000                                   $996.59            $78,807.50
                                                                       0.63; Distribution Dividend: 2.21; Account Number: ;
                                                                       Claim #: 34;
10/27/2020           2049      CNH Industrial Capital America LLC      First and final distribution re: Claim #: 35; Dividend:    7100-000                                   $446.70            $78,360.80
                                                                       0.28; Distribution Dividend: 2.21; Account Number: ;
                                                                       Claim #: 35;
10/27/2020           2050      CNH Industrial Capital America LLC      First and final distribution re: Claim #: 36; Dividend:    7100-000                                   $741.38            $77,619.42
                                                                       0.46; Distribution Dividend: 2.21; Account Number: ;
                                                                       Claim #: 36;



                                                                                                                                 SUBTOTALS                 $0.00            $6,460.18
                                        Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                              FORMEntered
                                                                                   2      02/19/21 15:46:31                                                Page 22 ofPage
                                                                                                                                                                       25No: 7                   Exhibit 9
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-70245-HDH16702450                                                                                   Trustee Name:                       Shawn K. Brown
 Case Name:                        TOTAL OPERATING, LLC                                                                                   Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***0017                                                                                             Checking Acct #:                   ******0245
Co-Debtor Taxpayer ID #:                                                                                                                  Account Title:
For Period Beginning:              7/30/2016                                                                                              Blanket bond (per case limit):      $300,000.00
For Period Ending:                 2/3/2021                                                                                               Separate bond (if applicable):

       1                2                                   3                                          4                                                        5                6                       7

   Transaction       Check /                             Paid to/             Description of Transaction                                   Uniform           Deposit        Disbursement              Balance
      Date            Ref. #                          Received From                                                                       Tran Code            $                 $


10/27/2020           2051      CNH Industrial Capital America LLC     First and final distribution re: Claim #: 37; Dividend:              7100-000                                  $1,226.04           $76,393.38
                                                                      0.77; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 37;
10/27/2020           2052      CNH Industrial Capital America LLC     First and final distribution re: Claim #: 38; Dividend:              7100-000                                  $1,675.27           $74,718.11
                                                                      1.06; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 38;
10/27/2020           2053      JML Management, Inc.                   First and final distribution re: Claim #: 40; Dividend:              7100-000                                   $320.88            $74,397.23
                                                                      0.20; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 40;
10/27/2020           2054      Southland Safety                       First and final distribution re: Claim #: 42; Dividend:              7100-000                                    $44.26            $74,352.97
                                                                      0.02; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 42;
10/27/2020           2055      Gajeske, Inc.                          First and final distribution re: Claim #: 43; Dividend:              7100-000                              $11,086.55              $63,266.42
                                                                      7.02; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 43;
10/27/2020           2056      Clerk, US Bankruptcy Court             Small Dividends                                                         *                                         $2.26            $63,264.16
                                                                      Claim Amount                                              $(2.26)    7100-001                                                      $63,264.16
10/27/2020           2057      Wise Fire & Safety, LLC.               First and final distribution re: Claim #: 49; Dividend:              7100-000                                   $128.74            $63,135.42
                                                                      0.08; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 49;
10/27/2020           2058      Caterpillar Financial Services Corp.   First and final distribution re: Claim #: 52; Dividend:              7100-000                                  $9,101.55           $54,033.87
                                                                      5.76; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 52;
10/27/2020           2059      John Deere Financial                   First and final distribution re: Claim #: 55; Dividend:              7100-000                                   $356.71            $53,677.16
                                                                      0.22; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 55;
10/27/2020           2060      John Deere Financial                   First and final distribution re: Claim #: 56; Dividend:              7100-000                                   $397.03            $53,280.13
                                                                      0.25; Distribution Dividend: 2.21; Account Number: ;
                                                                      Claim #: 56;




                                                                                                                                          SUBTOTALS                 $0.00        $24,339.29
                                        Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                              FORMEntered
                                                                                   2      02/19/21 15:46:31                                            Page 23 ofPage
                                                                                                                                                                   25No: 8                   Exhibit 9
                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-70245-HDH16702450                                                                               Trustee Name:                       Shawn K. Brown
 Case Name:                        TOTAL OPERATING, LLC                                                                               Bank Name:                          Independent Bank
Primary Taxpayer ID #:             **-***0017                                                                                         Checking Acct #:                   ******0245
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:
For Period Beginning:              7/30/2016                                                                                          Blanket bond (per case limit):      $300,000.00
For Period Ending:                 2/3/2021                                                                                           Separate bond (if applicable):

       1                2                                  3                                                 4                                              5                6                       7

   Transaction       Check /                             Paid to/                   Description of Transaction                         Uniform           Deposit        Disbursement              Balance
      Date            Ref. #                          Received From                                                                   Tran Code            $                 $


10/27/2020           2061      John Deere Financial                         First and final distribution re: Claim #: 57; Dividend:    7100-000                                   $707.01            $52,573.12
                                                                            0.44; Distribution Dividend: 2.21; Account Number: ;
                                                                            Claim #: 57;
10/27/2020           2062      John Deere Financail                         First and final distribution re: Claim #: 58; Dividend:    7100-000                                   $925.62            $51,647.50
                                                                            0.58; Distribution Dividend: 2.21; Account Number: ;
                                                                            Claim #: 58;
10/27/2020           2063      John Deere Financial                         First and final distribution re: Claim #: 59; Dividend:    7100-000                                   $745.80            $50,901.70
                                                                            0.47; Distribution Dividend: 2.21; Account Number: ;
                                                                            Claim #: 59;
10/27/2020           2064      John Deere Financial                         First and final distribution re: Claim #: 60; Dividend:    7100-000                                  $1,602.87           $49,298.83
                                                                            1.01; Distribution Dividend: 2.21; Account Number: ;
                                                                            Claim #: 60;
10/27/2020           2065      Comptroller of Public Accounts               First and final distribution re: Claim #: 61; Dividend:    5800-000                              $10,465.84              $38,832.99
                                                                            6.63; Distribution Dividend: 100.00; Account Number: ;
                                                                            Claim #: 61;
10/27/2020           2066      Comptroller of Public Accounts               First and final distribution re: Claim #: 61; Dividend:    7100-000                                    $23.69            $38,809.30
                                                                            0.01; Distribution Dividend: 2.21; Account Number: ;
                                                                            Claim #: 61;
10/27/2020           2067      Internal Revenue Service                     First and final distribution re: Claim #: 63; Dividend:    5800-000                              $38,803.17                     $6.13
                                                                            24.58; Distribution Dividend: 100.00; Account Number: ;
                                                                            Claim #: 63;
10/27/2020           2068      The Building Centers                         First and final distribution re: Claim #: 66; Dividend:    7100-000                                     $6.13                   $0.00
                                                                            0.00; Distribution Dividend: 2.21; Account Number: ;
                                                                            Claim #: 66;
01/25/2021                     U.S. Bankruptcy Clerk Northern District of   Unclaimed funds paid to registry. Elkhorn Construction     7100-000                                   $175.63                ($175.63)
                               Texas-Dallas                                 Claim #20
01/25/2021           2035      STOP PAYMENT: Elkhorn Construction           First and final distribution re: Claim #: 20; Dividend:    7100-004                                  ($175.63)                  $0.00
                               Inc.                                         0.11; Distribution Dividend: 2.21; Account Number: ;
                                                                            Claim #: 20;




                                                                                                                                      SUBTOTALS                 $0.00        $53,280.13
                                       Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                             FORMEntered
                                                                                  2      02/19/21 15:46:31                                        Page 24 ofPage
                                                                                                                                                              25No: 9                     Exhibit 9
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          16-70245-HDH16702450                                                                           Trustee Name:                         Shawn K. Brown
Case Name:                        TOTAL OPERATING, LLC                                                                           Bank Name:                            Independent Bank
Primary Taxpayer ID #:            **-***0017                                                                                     Checking Acct #:                      ******0245
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:             7/30/2016                                                                                      Blanket bond (per case limit):        $300,000.00
For Period Ending:                2/3/2021                                                                                       Separate bond (if applicable):

      1                 2                                3                                        4                                                    5                   6                      7

  Transaction        Check /                          Paid to/            Description of Transaction                              Uniform           Deposit          Disbursement              Balance
     Date             Ref. #                       Received From                                                                 Tran Code            $                   $


                                                                                    TOTALS:                                                         $516,968.35           $516,968.35                    $0.00
                                                                                        Less: Bank transfers/CDs                                          $0.00                 $0.00
                                                                                    Subtotal                                                        $516,968.35           $516,968.35
                                                                                        Less: Payments to debtors                                         $0.00                 $0.00
                                                                                    Net                                                             $516,968.35           $516,968.35



                     For the period of 7/30/2016 to 2/3/2021                                                  For the entire history of the account between 08/18/2016 to 2/3/2021

                     Total Compensable Receipts:                   $516,968.35                                Total Compensable Receipts:                               $516,968.35
                     Total Non-Compensable Receipts:                     $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $516,968.35                                Total Comp/Non Comp Receipts:                             $516,968.35
                     Total Internal/Transfer Receipts:                   $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:              $516,968.35                                Total Compensable Disbursements:                          $516,968.35
                     Total Non-Compensable Disbursements:                $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:            $516,968.35                                Total Comp/Non Comp Disbursements:                        $516,968.35
                     Total Internal/Transfer Disbursements:              $0.00                                Total Internal/Transfer Disbursements:                          $0.00
                                      Case 16-70245-hdh7 Doc 287 Filed 02/19/21
                                                                            FORMEntered
                                                                                 2      02/19/21 15:46:31                                     Page 25 ofPage
                                                                                                                                                          25No: 10                    Exhibit 9
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         16-70245-HDH16702450                                                                        Trustee Name:                         Shawn K. Brown
Case Name:                       TOTAL OPERATING, LLC                                                                        Bank Name:                            Independent Bank
Primary Taxpayer ID #:           **-***0017                                                                                  Checking Acct #:                      ******0245
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:            7/30/2016                                                                                   Blanket bond (per case limit):        $300,000.00
For Period Ending:               2/3/2021                                                                                    Separate bond (if applicable):

      1                 2                                3                                       4                                                 5                   6                      7

  Transaction        Check /                         Paid to/            Description of Transaction                           Uniform            Deposit         Disbursement              Balance
     Date             Ref. #                      Received From                                                              Tran Code             $                  $




                                                                                                                                                                            NET              ACCOUNT
                                                                                   TOTAL - ALL ACCOUNTS                               NET DEPOSITS                     DISBURSE             BALANCES

                                                                                                                                               $516,968.35          $516,968.35                      $0.00




                     For the period of 7/30/2016 to 2/3/2021                                              For the entire history of the case between 07/30/2016 to 2/3/2021

                     Total Compensable Receipts:                  $516,968.35                             Total Compensable Receipts:                               $516,968.35
                     Total Non-Compensable Receipts:                    $0.00                             Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                $516,968.35                             Total Comp/Non Comp Receipts:                             $516,968.35
                     Total Internal/Transfer Receipts:                  $0.00                             Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:             $516,968.35                             Total Compensable Disbursements:                          $516,968.35
                     Total Non-Compensable Disbursements:               $0.00                             Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:           $516,968.35                             Total Comp/Non Comp Disbursements:                        $516,968.35
                     Total Internal/Transfer Disbursements:             $0.00                             Total Internal/Transfer Disbursements:                          $0.00




                                                                                                                          /s/ SHAWN K. BROWN
                                                                                                                          SHAWN K. BROWN
